 Case 2:21-cv-00068-LGW-BWC Document 25 Filed 05/27/22 Page 1 of 6



                IX THE UNITED STATES DISTRICT COURT                                  FILED
               FOR THE SOITHERX DISTRICT OF GEORGIA                          U.S.D'^'^T - T COURT
                            BRUNSWICK DI\TSION

                                                                             im MAY      -A 10 Ub
PAUL D.LUCAS
                                                Case No. 2S1-CV-68
Plaintiff




V.                                              JURY TRIAL DENLANDED


PAUL GEORGE,
ANJELA ELLIOTT,
KEMN JONES,
In their indindual capacities.

Defendants




                            AJVIENDED COMPLAINT


       COMES NOW Paid D. Lucas, Plaintiff, Per order dated 29 April 2022 to

"perfect serrvice" defendants the Amended complaint.


                                 Officer Paul George

1. On Februar>'25th, 2019 Ofc. George while employed by the Brunswick police dept.

committed the offense of O.C.G.A. 16-10-20 on Fehruar\- 25th, 2019 Kjiowingly

aiid Willingly falsified the afflda\it to obtain the search warrant.

Ofc. George w-as no longer the Cit}- Marshal nor was at the Febnian- 24 event at 1603

Albany st. other than harassment had no business swearing out a search warrant.

Ofc. George's actions led to a search of 1603 Albany st. which led to fraudulent

charges, incarceration and "contact with law enforcement''
 Case 2:21-cv-00068-LGW-BWC Document 25 Filed 05/27/22 Page 2 of 6




                                 Ofc. Anjela Elliott

2.    On or about February 25th, 2019 Ofc. Elliott while employed by the Brunswick

police dept. committed the offense O.C.G.A. 16-10-20 False statements and

writings, Ofc Elliot purposely ignored fellow officers reports and body cam footage(

From event on 24th, February 20i9)To obtain arrest warrants for Mr. Lucas.

3.    On or about April 3rd,2019 Ofc. Elliot committed the same offense O.C.G.A.

16-10-20 False Statements and Writings Ofc. Elliot Knowingly and willfully

Falsified a criminal arrest warrant.


Ofc. Elliot charged Mr.Lucas for making a false statement when in fact evidence

showed the opposite verified by Ofc. Elliot's own body camera.

4.As a result of Ofc. Elliott's actions of False arrest and false imprisonment

Mr. Lucas spent 85 days incarcerated and suffered substantial personal injury in the

amount of$742,000. All Charges were dismissed or Acquitted.




                                 ChiefKevin Jones


5.     On or about January 22nd,2019 Mr. Lucas spent approximately 45 mins

Discussing the City Marshal's office harassment. Once again Chief Jones did not

violate my rights per se however Chief Jones is ultimately responsible for his

Police department and its officers.
 Case 2:21-cv-00068-LGW-BWC Document 25 Filed 05/27/22 Page 3 of 6




6.      Chief Jones admitted on the stand(June i6th 2021 criminal trial)When asked

if He knew me,Chief Jones answered "yes we met over a complaint he had" He also

stated "he had no idea his officers took out a search warrant and also commented

"they" didn't use the proper forms to obtain the warrant.

7.      Chief Jones had prior knowledge to the Plaintiffs harassment and that a

formal complaint had been filed against Ofc. George and did nothing, His failure to

intervene makes him just as responsible as his officers. His dereliction ofduty led to

the plaintiffs incarceration and substantial loss.




        WHEREFORE,Plaintiff prays for the following:

     1.) The Brunswick Police department and its officers be held accountable for
        Plaintiffs substantial loss.


     2.) Officer George signed and falsified the affidavit for the February 25th,search
        warrant and should not be dismissed from this complaint.

Respectfully submitted this Day 27th M


                                       Paul Lucas,Pro-se



Paul D. Lucas
434 New Sterling rd.
Brunswick, GA.31525
gametimeburgers@gmail.com
 Case 2:21-cv-00068-LGW-BWC Document 25 Filed 05/27/22 Page 4 of 6




                               CERTIFICATE OF SERVICE


      This is to certify that I have this day served all parties with a copy by

Hand Delivery this day May 23rd 2022

Federal Rule 4(e)"Leaving a Copy" at the individuals dwelling or usual place

Of abode with someone ofsuitable age and discretion who resides there"


Ofc. Anjela Elliott
138 Turkey pt.
Brunswick, Ga.31525

Husband refused service,left copy on door          ^




Mareena Springj'Server




Coun-i^              CLvaGvVV>>q.^
                   Aod -Stoorry -f-Q 0.f(-\                                       0<^




          PA I KICfc L WEIDLER
            notary public
            Chatham County
            State of Georgia
      My Comm. Expires 08/16/2025
 Case 2:21-cv-00068-LGW-BWC Document 25 Filed 05/27/22 Page 5 of 6




                            CERTIFICATE OF SERVICE


       This is to certify that I have this day served all parties with a copy by

Hand Delivery this day May                 2022




Chief Kevin
Ofc. Paul George
Ofc. Anjela Elliott

                                IAa -
                                                  'Y




 M

5+0^^ (5



                                       Suoern 4c
        -'-h.3                         a               '
                                                                                            y

  '9                       o -L n j,                   0     r\
     r/)                            no-i-o^^ t>4 Pu.i,(.^

              "I'AIKlcfcLWtUDLEFf
                 notary public
              Chatham County                                                       fA^e ^
            _ ^^3te of Georgia
        _My Comm. Expires 08/16/?n?g
Case 2:21-cv-00068-LGW-BWC Document 25 Filed 05/27/22 Page 6 of 6




                                        U.S. Postal Service'"
                                        CERTIFIED MAIL® RECEIPT
                                        Domestic Mail Only
                                     For delivery Information, visit our website at uww.uspB.com".

                           m
                          ^ ICortified Mail Fqo
                          [T
                          p_        _                            _
                                Extra Services &f'ws(checkbox, add ie
                           ^ Q Return Receipt(hardcopy)                   S._i
                          Q Qfteturn Heceipltetectionlc)                  S I
                          Q QCenified Mail ftostrlcled Da'ivcty $.1
                          I—I       □ Adult Signature Required             S .J
                                    Q Adult SIgnatirta Restricted Delivery S. _
                           O Postage
                                .                                       r     '
                                Total Postage and Fees

                                s                                    A.
                                '&\rehVinhKp\.'No., ofPCJ^xNo.
                                                                 E-OlLt.
                                           > 3 IT. TojeL^<^</ fr
                                'Cliy.'S!at9.'z!P+4*                         '/

                                I PS Form 3800, April 2015 psn 7530-02 000-W47    See Reverse for Instructions
